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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION



   UNITED STATES OF AMERICA,
   vs.                                               Case No. 23-80101-CR
   DONALD J. TRUMP, et al.,                          CANNON/REINHART

                  Defendants.


                        PRESIDENT TRUMP’S NOTICE OF TRIAL DATE

         President Donald J. Trump respectfully submits this Notice regarding the scheduled trial

  date in People v. Trump, Indictment No. 71543-2023 (Supreme Court N.Y. Cnty.), which may

  impact the Court’s consideration of the proposed schedules set forth at ECF Nos. 356 and 357.

  On March 25, 2024, the judge presiding over People v. Trump scheduled jury selection to

  commence on April 15, 2024. While the exact end date of any trial cannot be known with certainty,

  because of jury selection, religious observances, and the anticipated schedule of the trial, we

  anticipate President Trump will be on trial in People v. Trump from April 15, 2024, through the

  end of May 2024. Our initial proposed schedule anticipated a March 25 trial date in People v.

  Trump, and therefore the dates that we proposed to the Court, particularly in late May and early

  June 2024, are no longer workable for President Trump in light of the adjourned trial date.

         As the Court is aware, the schedule in New York consists of jury trial Monday, Tuesday,

  Thursday and Friday from the start of the trial until its conclusion.

         President Trump will apprise the Court of any new information regarding further

  scheduling changes.
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   Dated: March 27, 2024               Respectfully submitted,

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